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UNITED STATES DISTRICT COURT                                                                 10/5/2021
SOUTHERN DISTRICT OF NEW YORK


     Rene Tellier,

                                Petitioner,
                                                                                       92-cr-869 (AJN)
                       –v–                                                            19-cv-11262 (AJN)

     United States of America,                                                         MEMORANDUM
                                                                                      OPINION & ORDER
                                Respondent.



ALISON J. NATHAN, District Judge:

           Petitioner Rene Tellier filed a motion pursuant to 28 U.S.C. § 2255 for the Court to

vacate certain of his convictions and sentences, and conduct resentencing. For the reasons that

follow, that motion is GRANTED IN PART and DENIED IN PART.


     I.    BACKGROUND

           Petitioner Rene Tellier was indicted in 1992 along with two of his brothers for their

participation in a criminal organization that operated in the tri-state area. Dkt. No. 1.1 Petitioner

was charged with one count of conspiracy to violate the Racketeer Influenced and Corrupt

Organizations Act (RICO), 18 U.S.C. 1962, and one count of violating RICO, for which the

underlying predicates included murder, robbery, bribery, and conspiracy to distribute cocaine

and marijuana. Dkt. No. 471. Petitioner was also charged with two counts of conspiracy to

commit Hobbs Act Robbery and two counts of possessing a firearm in during and in relation to a

crime of violence under 18 U.S.C. § 924(c), which were predicated on the Hobbs Act Robbery

conspiracy counts. Id. Lastly, Petitioner was charged with one count of traveling across state


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    All references to the docket are to Case No. 92-cr-869 unless otherwise stated.


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lines with intent to commit murder. Id. On March 3, 1994, Petitioner was found guilty on all

counts after a lengthy jury trial. Id. Petitioner was given a sentence of life for each RICO count,

and an additional twenty-five years for the remaining counts. Id.

       Petitioner appealed his convictions to the Second Circuit, which affirmed by summary

order on May 10, 1996. See United States v. Tellier, 83 F.3d 578 (2d Cir. 1996). On October 19,

1997, Tellier filed a habeas petition under 18 U.S.C. § 2255 on the grounds of ineffective

assistance of counsel and prosecutorial misconduct. Dkt. No. 472. Following a series of

amendments to the petition, the Court eventually denied the petition on September 21, 2006.

Dkt. No. 395.

       On November 5, 2019, the Second Circuit granted Petitioner’s request for leave to file a

second or successive habeas petition in light of the Supreme Court’s decision in United States v.

Davis, 139 S. Ct. 231 (2019). Dkt. No. 420. Petitioner then filed the instant § 2255 motion in

this Court, arguing that his § 924(c) convictions can no longer stand after Davis. Dkt. No. 426.

Petitioner then requested leave to amend his petition in order to adopt arguments that his brother

and co-defendant Robin Tellier made in his § 2255 motion, which was also pending before the

Court. Dkt. No 435. The Court granted that request, id., and also granted Petitioner’s motion for

the appointment of counsel, Dkt. No. 454. Petitioner filed an amended petition and supplemental

memorandum, Dkt. Nos. 459, 471, in which he makes substantively identical arguments to those

in Robin Tellier’s petition. Petitioner’s petition is now fully briefed. Id.


 II.   DISCUSSION

       Section 2255 provides that a prisoner in custody of a federal court may petition the court

which imposed the sentence to “vacate, set aside or correct the sentence” on the grounds that it

“was imposed in violation of the Constitution or laws of the United States, or that the court was



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without jurisdiction to impose such sentence, or that the sentence was in excess of the maximum

authorized by law, or is otherwise subject to collateral attack.” 28 U.S.C. § 2255(a). Petitioner

moves pursuant to 28 U.S.C. § 2255 for the Court to vacate his § 924(c) convictions in light of

the Supreme Court’s decision in Davis v. United States, 139 S. Ct. 231 (2019). Petitioner also

moves for the Court to vacate his RICO sentences, which he argues were imposed “in the excess

of the maximum authorized by law” and violated the Ex Post Facto clause, or at the least conduct

de novo resentencing for all counts, taking into account these issues and Petitioner’s

rehabilitative efforts.

        These arguments are substantively identical to those made in support of the § 2255

petition of Robin Tellier, Petitioner’s co-defendant and brother, who was convicted of the same

two RICO counts as Petitioner and was also convicted of § 924(c) counts that were predicated on

Hobbs Act Robbery conspiracy. See Case No. 92-cr-826-1, Dkt. No. 460. In Petitioner’s brief,

Petitioner’s counsel incorporates by reference the arguments made in Robin Tellier’s petition and

notes that they are “identical.” See Dkt. No. 471 at 5-6. On October 5, 2021, the Court issued a

Memorandum Opinion & Order granting in part and denying in part Robin Tellier’s § 2255

petition. Dkt. No. 483.

        Because Petitioner’s convictions and arguments are identical to Robin Tellier’s, the Court

reaches the same result here for substantially similar reasons. The Court will summarize them

briefly below.

        Petitioner’s § 924(c) convictions are predicated on Hobbs Act Robbery conspiracy

convictions, which no longer qualify as a “crime of violence” under § 924(c) after the Supreme

Court’s decision in Davis v. United States, 139 S. Ct. 231 (2019). See United States v. Barrett,

937 F.3d 126, 127 (2d Cir. 2019). Those convictions therefore must be vacated.




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       The Court will not consider Petitioner’s challenges to his RICO sentences, however,

because they are procedurally barred for three reasons. First, as the Court explained in denying

Robin Tellier’s RICO challenges, claims brought as part of a second or successive habeas

petition must satisfy the requirements of § 2255(h). Case No. 92-869-1, Dkt. No. 483. As

Petitioner does not contest, his challenges to his RICO sentences do not. Second, Petitioner’s

RICO related claims are untimely under the one-year statue of limitations in 28 U.S.C. § 2255(f).

Petitioner claims that he is subject to the equitable exception for those who assert that they are

“actually innocent” because he is “actually innocent” of his sentence, which he claims was

imposed in violation of the Ex Post Facto clause. This argument, which Robin Tellier also

made, is incorrect for the reasons stated in the Court’s Memorandum Opinion & Order, namely

that actual innocence means “factual innocence” and Petitioner does not claim that he is actually

innocent of any conduct on which his convictions or sentences are based. Case No. 92-869-1,

Dkt. No. 483. To the contrary, like Robin Tellier, Petitioner admits he is “undisputedly guilty of

violating RICO.” Dkt. No. 474 at 5. Third, Petitioner is procedurally defaulted from making his

RICO-related claims because he has not shown cause and prejudice or actual innocence. See

United States v. Thorn, 659 F.3d 227, 231 (2d Cir. 2011). Petitioner adopts Robin Tellier’s

argument that a “fundamental miscarriage of justice” is an exception to procedural default and

that this exception includes the imposition of a sentence in excess of the statutory maximum.

However, as the Court explained in its Memorandum Opinion & Order, this argument is

precluded by binding authority holding that “fundamental miscarriage of justice” means “actual

innocence” in the habeas context and that a habeas petitioner therefore must demonstrate cause

and prejudice or actual innocence to overcome procedural default. Case No. 92-869-1, Dkt. No.




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483. Therefore, for each of these three reasons, the Court will not consider the merits of

Petitioner’s RICO related claims.

        The Court also denies Petitioner’s request for the Court to conduct “de novo”

resentencing on all counts. As the Court explained in its Memorandum Opinion & Order in

response to Robin Tellier’s identical argument, section 2255 gives courts the power to vacate a

conviction and conduct resentencing on another conviction where the sentences are “truly

interdependent.” United States v. Gordils, 117 F.3d 99, 103 (2d Cir. 1997). Under the law of

this Circuit, a sentencing package is “truly interdependent” when inclusion of the subsequently

vacated conviction affected the calculation of the Sentencing Guidelines range. Case No. 92-

869-1, Dkt. No. 483. Like Robin Tellier, Petitioner does not claim that his RICO and § 924(c)

sentences are interdependent in anyway. Resentencing on the RICO counts is therefore

inappropriate. Instead, under these circumstances, it is appropriate for the Court to simply

amend the judgment without resentencing. Id.

        Lastly, as Petitioner notes in his brief, the judgment in Petitioner’s case contained

numerous clerical errors.2 Dkt. No. 471 at 10 n.3. Specifically, the judgment lists the counts of

conviction incorrectly and lists the incorrect statutory provision for count seven. Federal Rule of

Criminal Procedure 36 provides that “[a]fter giving any notice it considers appropriate, the court

may at any time correct a clerical error in a judgment, order, or other part of the record, or

correct an error in the record arising from oversight or omission.” Fed. R. Crim. P. 36.

Numbering the counts incorrectly and providing the incorrect statutory citation for the offense

and the kind of clerical errors that can be corrected pursuant to Federal Rule of Criminal

Procedure 36. See United States v. Jacques, No. 20-1762, 2021 WL 3135985, at *4 (2d Cir. July


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 Robin Tellier’s judgment contained similar kinds of clerical errors. Case No. 92-869-1, Dkt. No. 483. The Court
amended the judgment to correct those errors pursuant to Fed. R. Crim. P. 36. Id.


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26, 2021). The Court will therefore correct these errors when amending the judgment. If either

party has objections to the changes in the amendment, they must file those objections within two

weeks.

III.     CONCLUSION

         For the reasons stated above and in the Court’s Memorandum Opinion & Order in the

case of Robin Tellier, Case No. 92-cr869-1, Dkt. No. 483, Petitioner’s § 2255 petition is

GRANTED IN PART and DENIED in part. Petitioner’s motion to vacate his § 924(c)

conviction is granted, and his motion to vacate his RICO sentences or have the Court conduct de

novo resentencing are denied. The Court will amend the judgment to remove the § 924(c)

convictions and correct any clerical errors for the remaining counts. This resolves Dkt. Nos.

332, 331, 345, 358, 419, 426, 463, 455, and 459. The parties will have two weeks to file any

objections to the corrections in the amended judgment.

         Because Petitioner has not made a substantial showing of the denial of a constitutional

right with regard to the portions of his § 2255 motion that were denied, a certificate of

appealability will not issue. See 28 U.S.C. § 2253. Pursuant to 28 U.S.C. § 1915(a)(3), any

appeal taken from this order with regard to the petition would not be taken in good faith. See

Coppedge v. United States, 369 U.S. 438, 444-45 (1962).


         SO ORDERED.
 Dated: October 5, 2021
        New York, New York                        ____________________________________
                                                            ALISON J. NATHAN
                                                          United States District Judge




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